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                      IN THE UNITED STATES DISTRICT COURT                   201E NAY -3 PN 3: 1 2
                     FOR THE SOUTHERN DISTRICT OF GEORGIA                 CLERK ^
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                                    DUBLIN DIVISION


ANTONIO SMILEY,

                     Petitioner,

              V.                                          CV 316-021
                                                          (Formerly CR 312-003)
UNITED STATES OF AMERICA,

                     Respondent.


                                         ORDER



       After a careftil, de novo review of the file, the Court concurs with the Magistrate

Judge's Report and Recommendation, to which objections have been filed,(doc. no. 4). The

Magistrate Judge recommended dismissal of the motion filed pursuant to 28 U.S.C. § 2255

because Petitioner's conviction became final in 2013, the motion was not filed until 2016,

and Johnson v. United States. 135 S. Ct 2551 (2015) does not apply to re-start the one-year

limitations period, as ofthe decision date. (See doc. no. 2.)

       Petitioner was sentenced as a career offender under the advisory sentencing

guidelines, not under the residual clause of the Armed Career Criminal Act ("ACCA")

invalidated in Johnson. Although the sentencing guidelines and the ACCA have an identical

residual clause, the Eleventh Circuit has determined Johnson does not apply to career

offender enhancements under the sentencing guidelines. United States v. Matchett. 802 F.3d

1185, 1194 (11th Cir. 2015). Because this Court is bound by Circuit precedent, Petitioner's
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arguments about why he thinks Matchett was wrongly decided does not change the result in

this case. The Court is aware the Supreme Court recently held Johnson is a substantive

decision retroactive in cases on collateral review. Welch v. United States. 136 S. Ct. 1257,

1265 (2016). There is no doubt Petitioner filed his motion within one year of the Johnson

decision, but that fact does not save his motion from dismissal because Johnson does not

apply to Petitioner's case. As such,the Court OVERRULES Petitioner's objections.

       In light of Matchett. the Court finds no reason to grant Petitioner's alternative request

to hold the § 2255 motion in abeyance pending the implementation of changes to the career

offender guidelines. Accordingly, the Court ADOPTS the Report and Recommendation of

the Magistrate Judge as its opinion, DENIES Petitioner's request for appointment of counsel,

and DISMISSES the § 2255 motion.

       Further, a federal prisoner must obtain a certificate of appealability ("COA") before

appealing the denial of his motion to vacate. This Court "must issue or deny a certificate of

appealability when it enters a final order adverse to the applicant." Rule 11(a) to the Rules

Governing Section 2255 Proceedings. This Court should grant a COA only if the prisoner

makes a "substantial showing ofthe denial of a constitutional right." 28 U.S.C. § 2253(c)(2).

For the reasons set forth in the Report and Recommendation, and in consideration of the

standards enunciated in Slack v. McDaniel. 529 U.S. 473, 482-84 (2000), Petitioner has

failed to make the requisite showing. Accordingly, the Court DENIES a COA in this case.'
Moreover, because there are no non-frivolous issues to raise on appeal, an appeal would not



        '"If the court denies a certificate, a party may not appeal the denial but may seek a
certificate from the court of appeals under Federal Rule of Appellate Procedure 22." Rule 11(a)
to the Rules Goveming Section 2255 Proceedings.
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be taken in good faith. Accordingly, Petitioner is not entitled to appeal in forma pauperis.

See 28 U.S.C. § 1915(a)(3).

       Upon the foregoing, the Court.)CLOSES this civil action.

       SO ORDERED this                 of May,2016, at Augusta, Gporgh




                                   UNITED STATES^ISTRICT JUDGE
